             Case 21-14978-abl       Doc 880     Entered 11/13/23 12:03:53       Page 1 of 2




 1
 2
 3
 4       Entered on Docket
     ___________________________________________________________________
         November 13, 2023
 5
 6
 7                            UNITED STATES BANKRUPTCY COURT
 8                                      DISTRICT OF NEVADA
 9                                        ******
                                           )
10
      In re:                               )  Case No.: 21-14978-abl
11                                         )
      SILVER STATE BROADCASTING, LLC, )       Jointly Administered with:
12                                         )  Case No.: 21-14979-abl
                       Debtor.             )  Case No.: 21-14980-abl
13
      ____________________________________)
14    GOLDEN STATE BROADCASTING,           )  Chapter 11
      LLC,                                 )
15                                         )
             Jointly Administered Debtor.  )  Hearing Date: November 7, 2023
16
      ____________________________________)   Hearing Time: 1:30 p.m.
17    MAJOR MARKET RADIO, LLC,             )
                                           )
18           Jointly Administered Debtor.  )
19                                         )

20               ORDER DENYING MOTION FOR SALE WITHOUT PREJUDICE
21           On November 7, 2023, the Court issued its oral ruling on a Motion for Order Pursuant to

22    11 U.S.C. §§ 363 and 105 and Bankruptcy Rules 6004 and 2002 Authorizing Chapter 11 Trustee

23    to Auction and Sell Estate Property (“Heavy Equipment Sale Motion”).1 The Heavy Equipment

24    Sale Motion was filed by Michael W. Carmel, duly appointed trustee for the bankruptcy estates

25    of jointly administered Chapter 11 debtors Silver State Broadcasting, LLC, Golden State

26    Broadcasting, LLC, and Major Market Radio, LLC (“Trustee”).

27           1
              ECF No. 783. In this Order, all references to “ECF No.” are to the numbers assigned to
28    the documents filed in the above-captioned bankruptcy case as they appear on the docket
      maintained by the Clerk of the Court.
               Case 21-14978-abl        Doc 880        Entered 11/13/23 12:03:53    Page 2 of 2




 1             At the November 7, 2023, hearing, attorney Gregory E. Garman appeared telephonically
 2   on behalf of Trustee. Attorney John A. White, Jr. appeared telephonically on behalf of the
 3   debtors out-of-possession. Attorney Ogonna M. Brown appeared telephonically on behalf of
 4   VCY America, Inc. Attorney Candance C. Carlyon appeared telephonically on behalf of C & E
 5   Haas Development Company, LLC. Attorney Kara B. Hendricks appeared on behalf of
 6   interested party Friends of KEXP. Attorney Justin C. Valencia appeared on behalf of United
 7   States Trustee for Region 17, Tracy Hope Davis. Other telephonic appearances were noted on the
 8   record.
 9             To the extent that the Court made findings of fact and conclusions of law in the course of
10   its oral ruling on November 7, 2023, those findings of fact and conclusions of law are
11   incorporated into this Order by this reference pursuant to FED. R. CIV. P. 52, made applicable in
12   this contested matter pursuant to FED. R. BANKR. P. 9014(a) and (c) and 7052.
13             For the reasons stated on the record,
14             IT IS ORDERED that the Heavy Equipment Sale Motion is DENIED WITHOUT
15   PREJUDICE.
16
     Copies sent to all registered parties via CM/ECF Electronic Filing.
17
                                                        ###
18
19
20
21
22
23
24
25
26
27
28

                                                              2
